Case 3:17-cv-00986-BAS-AGS Document 107-1 Filed 08/18/19 PageID.4142 Page 1 of 3




      PLAINTIFFS’ AMENDED
           EXHIBIT 5
               ––––––––––––––––––––––––––––––––––

                              IN THE CASE OF

        JOHN MCCURLEY; AND, DAN DEFOREST,
    INDIVIDUALLY AND ON BEHALF OF ALL OTHERS
               SIMILARLY SITUATED,

                                         V.

                    ROYAL SEAS CRUISES, INC.,

                          17-CV-986 BAS (AGS)




                            KAZEROUNI LAW GROUP, APC
                          1303 EAST GRAND AVENUE, SUITE 101
                             ARROYO GRANDE, CA 93420
                                  (805) 335-8455
:17-cv-00986-BAS-AGS    LegalDocument
                             Notice   107-1 Filed 08/18/19        PageID.4143
                                                   McCurley v. Royal Seas Cruises, Inc. Pag
                                                   TCPA Administrator
     If you received a prerecorded call marketing P.O. Box 43498
                                                   Providence, RI 02940-3498
      Royal Seas Cruises between November 2016
       and December 2017, a class action lawsuit
                may affect your rights.
                 A federal court authorized this notice.
                This is not a solicitation from a lawyer.


                 1-866-573-9974
    www.RoyalSeasCruisesTCPAClassAction.com

    RYM
:17-cv-00986-BAS-AGS
    You may be affected by a class action lawsuitDocument              107-1
                                                 claiming that Prospects,             Filed
                                                                          DM, Inc. made          08/18/19
                                                                                         telephone                     PageID.4144
                                                                                                   calls on behalf of Royal                           Pag
                                                                                                                            Seas Cruises, Inc. (“Defendant”)
    through an automatic telephone dialing system and/or an artificial or prerecorded voice without consent from consumers and in violation of the federal
       Telephone Consumer Protection Act (“TCPA”), if you were not a customer of Defendant at the time of the call, you did not consent to be called, and your
       cellular telephone number is associated in Prospects DM’s records with diabeteshealth.info or www.yourautohealthlfeinsurance.com. Defendant denies
       these claims and denies that any such calls were illegal. If any such calls were made, they were not made by Defendant and, regardless, would have been
       made with consent. The Court has not decided who is right. The lawsuit, McCurley v. Royal Seas Cruises, Inc., Case No. 3:17-cv-00986, is in the U.S.
       District Court for the Southern District of California. There is no money available now and no guarantee that there will be.
       Am I Affected? You may be a “Class Member” if you are a person within the United States who received a telephone call (1) from Prospects, DM, Inc. on
       behalf of Royal Seas Cruises, Inc., (2) on said Class Member’s cellular telephone, (3) made through the use of any automatic telephone dialing system or an
       artificial or prerecorded voice, (4) between November 2016 and December 2017, (5) where such calls were placed for the purpose of marketing, (6) to non-
       customers of Royal Seas Cruises, Inc. at the time of the calls, and (7) whose cellular telephone number is associated in Prospects DM’s records with either
       diabeteshealth.info or www.yourautohealthlifeinsurance.com. The Class also includes a Subclass of all Class Members whose call resulted in a transfer to
       Royal Seas Cruises, Inc.
       What Is The Lawsuit Asking For? The lawsuit is asking the Court to award each Class Member monetary damages of $500 per call or $1,500 per call
       per Class Member if Defendants “knowingly” or “willfully” violated the TCPA, as well as an order prohibiting the Defendant from making or
       authorizing future calls in violation of the TCPA.
       What Are My Rights & Options? You don’t have to do anything now if you want to keep the possibility of getting money or benefits from this
       lawsuit. If you do nothing, you are choosing to stay in the Class, subject to any proof you may be required to provide to establish your membership in
       the Class. You will be legally bound by all orders and judgments of the Court and you will not be able to sue or continue to sue the Defendant about the
       legal claims made in this case. If money or benefits are obtained, you will be notified about how to ask for a share. If you do not want to stay in the
       Class, you must submit a request for exclusion by December 2, 2019. If you exclude yourself, and money or benefits are later obtained you will not be
       able share in them, but you will keep your right to separately sue the Defendant over the legal issues in this case. The Court will exclude from the class
       any member who requests exclusion. If you do not want to stay in the Class, you must submit a request for exclusion by December 2, 2019 by sending
       a letter to the P.O. Box address on this postcard. The letter must state that “I want to be excluded from from McCurley v. Royal Seas Cruises, Inc.,
       Case No. 3:17-cv-00986.” Include your name, address, the cell phone number or numbers that received the calls at issue in this lawsuit, and your
       signature.
       Who Represents Me? The Court appointed Kazerouni Law Group, APC and Law Offices of Todd M. Friedman, P.C. as “Class Counsel” to represent
       Class Members. If Class Counsel obtains money or benefits for the Class, they may ask the Court for attorneys’ fees and costs which would either be
       deducted from any money obtained for the Class or paid separately by the Defendant. If you want to be represented by your own lawyer in this case,
       you may hire one at your expense.
       When Will The Court Decide Who Is Right? Class Counsel will have to prove the claims at a trial. The trial will take place at Edward J. Schwartz
       United States Courthouse, 221 West Broadway, San Diego, California 92101 on May 5, 2020; however, this date is subject to change depending on the
       Court’s schedule or the needs of the case
       Want More? Go to www.RoyalSeasCruisesTCPAClassAction.com, call 1-866-573-9974 or write to McCurley v. Royal Seas TCPA Administrator,
       P.O. Box 43498, Providence, RI 02940-3498.
